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                      Exhibit L
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Case: 1:22-cv-03931 Document #: 9-12 Filed: 07/28/22 Page 4 of 26 PageID #:505
Case: 1:22-cv-03931 Document #: 9-12 Filed: 07/28/22 Page 5 of 26 PageID #:506
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Case: 1:22-cv-03931 Document #: 9-12 Filed: 07/28/22 Page 26 of 26 PageID #:527
